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VIRGINIA: IN THE CIRCUIT COURT OF THE CITY OF VlRGINIA BEACH
CHRISTINE ANDERSON,

Plailltiff`
V- Case No.: OL llv~ 53¢‘1»-

REEDS JEWELERS, INC,
a North Carolina corporation,

Defendant

Serve: CT Corporation System, Registered Ageot

4701 Cox Road, Suite 285

Glen A!len, Virginia 23060-0000

CGMPLAINT

COMES NOW the Plaintiff, Christine Anderson, and demands judgment against the
Det`endant, Reeds Jewelers, lnc. upon grounds stated more fully herein:

l. 'I`he Plaintiff, Chn`stine Anderson (hereinaiter “Plaintiff” or “Anderson” , is a
neutral person and a resident of the City of Virginia Beach, Virginia.

2. 'I'he Defendant, Reeds Jewelers, lnc. (here/matter “Defendant” or “Reeds”) is a
North Ca.rolina corporation with its principal office located in. Wilmi.ngton, North Carolina.

3. Defendant formerly maintains stores throughout the Comrnonwealth of Virginia,
including but not limited to the City of Virginia Beach, Virginia.

4. Defendant is a U.S. retail jewelry company that sells diamonds and precious gems,
fine jewelry and brand-name watches, including Rolex watches.

5. Plaintiff began working for Defendant on or about October 9, 2006 as a Sales
Associate. Eventua.lly, Anderson’s excellent Work and admirable ethics earned her a promotion to

Assistant Store Manager at Defendant’s Store 91, located at 701 Lynnhaven Parkway, space 1048

(“Lylmhaven Store”) in Virginia Beach, Virginia.

 

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6. Det`endant terminated Anderson’s employment on April 18, 2015. Prior to being
fired, Plaintiff consistently earned high marks on annual reviews and as a result continually
received pay increases. In fact, in or about October 2014 Defendant offered Anderson a promotion
in the way of managing Reed’s Patrick Henry Mall location in Newport News, Virginia. Just six
months later Defendant told Anderson she was being fired because Wasn’t following “company
policy” by using multiple lenders ~ even though no other employee had been terminated for this
reason, nor was there such a written policy at the time of the Hring.

7. In truth, Anderson was fired because she had spent the past several months trying
to end a scheme wherein Reeds was taking advantage of young military indi\!riduals and reaping
large profits as a result. ln addition, Reeds was also de&auding current business partners (1'. e.,
lending institutions) and devaluing the brand value of one of its most important suppliers (1`. e.,
Rolex). Anderson tried diligently to stop this conduct until she was fired and offered up as a
scapegoat when Reed’s business partner’s started asking questions

Ihe Scheme

8. In or about October 2014, Anderson noticed a small group of individuals (z`.e.,
“handlers”) repeatedly visiting the Lynnhaven Store. This group of individuals would continumly
bring along young individuals serving in the military (z'.e., “buyers”). These young military men
and women would then request credit from Reeds’ lending partners (via assistance from Reeds’
employees) to purchase jewelry - usually Rolex watches

9. Anderson eventually learned that after borrowing and purchasing the jewelry, the
buyers would then sell the jewelry to the handlers for cash - typically for a fraction of the amount

actually financed

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10. Having learned this, Anderson began to try and talk new buyers out of taking loans
to purchase jewelry ~ telling them that failure to make regular payments could lead to military
discipline

ll. In addition, Anderson repeatedly informed Reed’s management about this scheme
and the potential harm being perpetrated on young military personnel. Anderson contacted Reed’s
Loss Prevention Manager, lustin Ward on October 17, 2014, at 2:03 p.m. and shared an email with
links to websites showing the sale of watches obtained through this scheme. Reed’s management
did nothing to investigate Anderson’s concerns. Rather, Reeds continued to see inflated sales of
high end jewelry through this scheme and as a result, directly profited by their participation in this
fraud upon their lending partners.

12. In January 2015, Anderson further informed Reed’s I-lead of Inventory Control,
Peaches Bosley, of the scheme Anderson specifically told Bosely, “I don’t feel comfortable
continuing to assist with the financing of these particular buyers.” Further, Anderson specifically
told Bosely that she was concerned about “transshipping” issues - especially with regard to Reed’s
Rolex license. Reed’s is one of a select few businesses licensed to sell Rolexes in the Harnpton
Roads area. Nonetheless, Reeds repeatedly ignored Anderson’s pleas to address this scheme

13. Anderson eventually learned that the handlers were coaching the buyers to lie on
the jewelry financing documents regarding their military pay rank - further increasing the amount
of potential financing

14. Finally, in or about February 2015 , Pioneer (a financial lender focused on serving
military service members) began investigating the recent increase in loan defaults involving Reeds
stores in the Hampton Roads area. ln late March, Ward visited Anderson at the Lynnhaven Store

location and claimed ignorance ofAnderson’s prior pleas for help regarding the scheme

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15. Shortly thereafter, Reeds fired Anderson. At the time of firing and since then, Reeds

representatives have continually disparaged Anderson’s character and continually alleged that

Anderson is being or will be investigated by law enforcement agencies (e.g., the Naval Criminal

lnvestigative Service (NCIS) and Federal Bureau of Investigation (PBI)).

The Fallout

16. As a licensed Rolex dealer, Reeds has certain specific contractual obligations,

including but not limited to:

B..

To sell Rolex products in a manner consistent with the high standards,
goodwill and prestigious reputation of the Rolex name;

rl`o sell Rolex products only to ultimate consumers, in transactions that
originate over-the-counter at its authorized locations. (All other methods of
the sale are considered transshipping ~ any transshipping of Rolex watches,
even if unintentional, is prohibited);

To refrain from any conduct that weakens, compromises or adversely
affects Rolex trademarks;

To comply with any applicable federal, state or local law or regulations;
'l`o avoid any involvement in any activity that could damage Rolex’s
reputation or that is generally considered immoral, illegal, or contrary to

public notice.

l7. Reeds breached these obligations by failing to investigate and address the scheme

Anderson discovered

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18. By selling massive amounts of Rclex product via this scheme, Reeds flooded the
marketplace with newly sold Rolex watches (with freshly activated, but not yet used warranty
cards); this conduct allowed unlicensed dealers to then sell Rolex watches under the guise that they
were in fact not-used but new.

19. Further, Reed’s improper conduct has allowed Recds to move forward with an
extensive remodeling of its Lynnhaven Store boasting a “Rolex Boutique”. Upon completion of
this in-store “Rolex Boutique”, Reeds will have a distinct advantage (e.g., offering a larger-than-
average selection of Rolex watches) over its few competitors in the Harnpton Roads area.

Count I--~Wrongful Discharge in Violation of Public Policy

20. Plaintiff respectfully incorporates by reference Paragraphs One through Eighteen

 

as if set out in full herein.

21. Virginia common law recognizes wrongful discharge claims in violation of public

 

policy, inter alia, when the discharge was based on the employee’s refusal to engage in a criminal

aCf.

22. Defendant had knowledge of Plaintist objection to continuing to participate in the
scheme.

23. Defendant had knowledge and/or the reasonable belief that Plaintiff would not
engage in, aid or otherwise abet criminal haudulent activities, and/or that Plaintiff may record
and/or maintain evidence of such criminal activities

24. Defendant wrongfully discharged Plaintiff in violation of the public policy of the
Comrnonwealth due to her refusal to continue engage in criminal acts. Defendant’s scheme
violated the following Va. Code Sections:

a. 18.2-178 - Obtaining money or signaturc, etc., by false pretense;

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b. 182-186 - False statements to obtain property or credit;
c. 182-195 - Credit card fraud; conspiracy; penalties; (iv) 18.2-195.2 -
Fraudulent application for credit card ;
d. 18.2»197 - Crirninally receiving goods and services fraudulently obtained;
e. 18.2-216 - Untrue, deceptive or misleading advertising, inducements,
writings cr documents;
f. 18.2-217 - Advertising merchandise, etc., for sale with intent not to sell at
price or terms advertised; and
g. 18.2-246.3 - Money laundering
25. Speciiically, in firing Anderson Defendant violated the public policy of Va. Code
Section 18.2-178, Which makes it a felony`for any person to “obtai.n, by false pretense or token,
nom any person, with intent to defraud, money . . . or other property that may be the subject of
larceny . . .” when Reed’s employees assisted buyer’s With obtaining financing through fraudulent
means.
26. ln Wrongfully discharging Plaintiff in violation of public policy, Defendant acted

With malice or with reckless disregard for Plaintiff’s rights.

27. As a direct and proximate result of Defendant’s wrongful conduct, Plaintiff has
suffered damages, including but not limited to loss of past and future income and fringe benefits,
loss of professional reputation, mental anxiety and emotional distress

Count II-~Tortious Interference with Prospective Business Relations
28. Plaintiff respectfully incorporates by reference Paragraphs One through Twenty-

Five as if set out in full herein

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29. Defendant knew or had reason to know that the business community in which
Plaintiff operates (i.e., the jewelry sales community) is tightly knit and that any damage to
reputation or credibility to a member of the community would have severe consequences with
regard to that member’s actual and prospective business relationships Defendant further had
knowledge of Plaintiff’s valid business relationship with her new employer (a jeweler within
Virginia Beach) and Plaintiff’s valid expectancy of remaining a well-respected member of the
local jewelry sales community

30. Defendant negligently, recklessly and/or intentionally defamed and maligned
Plaintiff’ s reputation within the community. On multiple occasions since firing Anderson, Reed’s
representatives have alleged to others within the community that Anderson was fired for
participating in a fraudulent scheme and could face criminal prosecution by the NCIS and FBI.

31. Defendant put Plaintiff in a bad and false light knowing it would adversely affect
her career in the jewelry industry. Defendants have repeatedly told others in the industry that
Anderson was iired for participating in unethical activities

32. Defendant disseminated (and continue to do so) false and defamatory information
to the public and within the Jewelry community in North Carolina and Virginia about Anderson in
an attempt to induce these individuals to avoid business relationships With her.

33. Defendant’s ongoing acts of tortious interference constitute transgressions of a
continuing nature, for which Plaintiff has been damaged

34. As a direct and proximate result of Defendant’s wrongful conduct, Plaintiff has
suffered damages, including but not limited to loss of past and future income and hinge benefits,

loss of professional reputation, mental anxiety and emotional distress

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Count IlI-Common»Law Conspiracy

35. Plaintiff respectfully incorporates by reference Paragraphs One through Thirty»
rl`wo as if set out in full herein.

36. Defendant engaged in a tacit agreement with the above-mention “hancllers” and
conspired with these handlers to: (i) tortuously deh'aud Defendant’s business partners (i.e., the
above-mentioned financial lending institutions) by assisting young military personnel in obtaining
loans in which the recipients had no intent and/or ability to repay; (ii) breach contractual and
fiduciary duties owed to Defendant‘s supplier, Rolex, by, including but not limited to, diluting
Rolex’s brand and assisting in allowing non-licensed distributors to send Rolex Watches; and (iii)
firing Anderson, and in so doing, violating (inrer alia) the public policy mandate of Va. Code
Section 182-178 by insisting that Plaintiff participate in the above-referenced scheme

37. ln subjecting Plaintili` to common-law conspiracy, Defendants acted with malice or
with reckless disregard for Plaintiff’s rights

38. in acting under this tacit agreement with the above~mentioned handlers Defendant
conspired to accomplish a criminal and or unlawful purpose - defrauding its business partners
Moreover, in acting under this tacit agreement, Defendant conspired to accomplish other legal
ends (i.e., sale ofmerchandise) through unlawful means - defrauding its business partners

39. Through the conspiracies described above and through covert acts they committed
in furtherance of those conspiracies Defendants directly and proximately caused Plaintiff to suffer
loss of income and other economic benefits job search costs and the loss of future employment
opportunities diminished professional status, diminished job opportunities mental anguish, and

emotional distress

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40. As a direct and proximate result of Defendant’s wrongful conduct, Plaintiff has
suffered damages, including but not limited to loss of past and future income and hinge benefits,
loss of professional reputation, mental anxiety and emotional distress

WHEREFORE, the Plahitift`, Christine Anderson, by counsel, prays that this honorable
Court grant her judgment against the Defendant, Reeds Jewelers, lnc., in the amount of
$950,000.00, plus costs, attorneys’ fees, pre- and post-judgment interest and such other relief as
may be deemed just and proper, Whether at common law or by applicable statute including, but
not limited to, his litigation fees and costs.

TRIAL BY JURY DEMAN])ED
Respectfuily submitted,
CHRIS’I`IN ¢ ANDERSON,

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road M. oa nhl,~l unc (VsB No. 47742)
NTER, P.C.

  

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